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1    CENTER FOR DISABILITY ACCESS
     Dennis Price, Esq., SBN 279082
2    Russell Handy, Esq., SBN 195058
     Amanda Seabock, Esq. SBN 289900
3    8033 Linda Vista Road, Suite 200
     San Diego, CA 92111
4    (858) 375-7385; (888) 422-5191 fax
     amandas@potterhandy.com
5
6    Attorneys for Plaintiff, ANDRES GOMEZ
7                                UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
8
9    ANDRES GOMEZ,                            )       Case No.: 2:20-CV-06720-PSG-SK
                                              )
10         Plaintiff,                         )
                                              )       NOTICE OF SETTLEMENT AND
11     v.                                     )       REQUEST TO VACATE ALL
     SAND AND SEA, a California Corporation; ))       CURRENTLY SET DATES
12   and Does 1-10,                           )
13         Defendants.                        )
                                              )
14                                            )
                                              )
15                                            )
                                              )
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17          The plaintiff hereby notifies the court that a provisional settlement has been
18   reached in the above-captioned case. The Parties would like to avoid any additional
19   expense while they focus efforts on finalizing the terms of the settlement and reducing it
20   to a writing. The plaintiff, therefore, applies to this Honorable Court to vacate all
21   currently set dates with the expectation that the settlement will be consummated within
22   the coming sixty (60) days, allowing for a Joint Stipulation for Dismissal with prejudice
23   as to all parties to be filed.
24
                                        CENTER FOR DISABILITY ACCESS
25
26   Dated: November 05, 2020           By: /s/ Amanda Lockhart
27                                            Amanda Lockhart
                                              Attorney for Plaintiff
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     Notice of Settlement             -1-            2:20-CV-06720-PSG-SK
